                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

CAITLIN O’CONNOR,                                   )
                                                    )   Case No. 3:20-cv-00628
        Plaintiff,                                  )
                                                    )   District Judge Richardson
v.                                                  )
                                                    )   Magistrate Judge Frensley
THE LAMPO GROUP, LLC a/k/a                          )
RAMSEY SOLUTIONS,                                   )   Jury Demand
                                                    )
        Defendant.                                  )

PLAINTIFF’S RESPONSES TO DEFENDANT’S FIRST SET OF INTERROGATORIES

        Comes Now, Plaintiff, to respond and object to Defendant’s First Set of Interrogatories as

follows:

                                      INTERROGATORIES

     1. Identify every person who has discoverable information that Plaintiff may use to support

        her claims in this case by (i) name, (ii) physical address, (iii) mailing address, (iv)

        telephone number, and (v) e-mail address.

        ANSWER: See Plaintiff’s Rule 26(a) initial disclosures and additions below. Plaintiff
        will supplement this response in accordance with the Federal Rules of Civil
        Procedure, Local Rules of Court, and any applicable Scheduling Order(s). The
        following individuals have information relevant to Plaintiff’s claims. All individuals
        listed are under the control or were under the control of Defendant. If counsel
        wishes to interview or speak with the Plaintiff or her family, counsel may do so by
        and through Plaintiff’s counsel. Plaintiff will provide copies of medical records as
        they become available.
        • Caitlin O’Connor – Plaintiff. Has knowledge concerning the claims and defenses.
            May only be contacted through counsel.
        • Armando Lopez – Human Resources/Defendant’s Employee. Has knowledge
            concerning Plaintiff’s employment history, pregnancy, request for ADA
            Accommodations and FMLA paperwork, and termination. Familiar with
            Defendant’s practices, policies, and procedures.
        • Suzanne Simms – Defendant’s Board Member. Has knowledge concerning
            Plaintiff’s employment history, pregnancy, request for ADA Accommodations




Case 3:20-cv-00628         Document 67-8         Filed 11/09/21      Page 1 of 10 PageID #: 1157
          and FMLA paperwork, and termination. Familiar with Defendant’s practices,
          policies, and procedures.
      •   Jen Sievertsen – Defendant’s Board Member. Has knowledge concerning
          Plaintiff’s employment history, pregnancy, request for ADA Accommodations
          and FMLA paperwork, and termination. Familiar with Defendant’s practices,
          policies, and procedures.
      •   Dave Ramsey – Defendant’s Owner. Has knowledge concerning Plaintiff’s
          employment history, pregnancy, request for ADA Accommodations and FMLA
          paperwork, and termination. Familiar with Defendant’s practices, policies, and
          procedures.
      •   Michael Finney – Defendant Employee. Has knowledge concerning Plaintiff’s
          employment history, job performance, pregnancy, and termination. Familiar with
          Defendant’s practices, policies, and procedures.
      •   Justin Meeker – Defendant Employee. Has knowledge concerning Plaintiff’s
          employment history and job performance. Familiar with Defendant’s practices,
          policies, and procedures.
      •   Bill Edmonson – Defendant Employee. Has knowledge concerning Plaintiff’s
          employment history and job performance. Familiar with Defendant’s practices,
          policies, and procedures.
      •   Rich Pedrick – Defendant Employee. Has knowledge concerning Plaintiff’s
          employment history and job performance. Familiar with Defendant’s practices,
          policies, and procedures.
      •   Philip Dower – Defendant Employee. Has knowledge concerning Plaintiff’s
          employment history and job performance. Familiar with Defendant’s practices,
          policies, and procedures.
      •   Lee Yoder – Defendant Employee. Has knowledge concerning Plaintiff’s
          employment history and job performance. Familiar with Defendant’s practices,
          policies, and procedures.
      •   Dr. Jacqueline Stafford – Plaintiff’s OB/GYN. Familiar with Plaintiff’s disability
          and/or pregnancy and/or serious medical condition and need for leave and/or
          accommodation. This is not to be construed as a waiver of Plaintiff’s HIPAA
          rights.
      •   Rob Kuskin – Plaintiff’s Partner. Familiar with the effects of Plaintiff’s work
          environment, Plaintiff’s disability and/or pregnancy and/or serious medical
          condition, and Defendant’s Actions. May be contacted through counsel only.

   2. Identify every person who witnessed any alleged act of illegal discrimination,

      interference, or retaliation by Defendant against Plaintiff by (i) name, (ii) physical

      address, (iii) mailing address, (iv) telephone number, and (v) e-mail address.

      ANSWER: Objection. This request calls for speculation and is overly broad. Please

      see interrogatory no. 1

                                                2


Case 3:20-cv-00628       Document 67-8        Filed 11/09/21      Page 2 of 10 PageID #: 1158
   3. Identify every verbal or written reprimand that Plaintiff received from Defendant for

      performance or behavior during her employment by (i) date that it was delivered, (ii)

      name of the person who delivered it, and (iii) performance or behavior issues that it

      addressed.

      ANSWER: None to her knowledge, but this information should be in Defendant’s

      possession.

   4. Identify by name every person for whom the following is true: (i) the person engaged in

      premarital sex while employed by Defendant, (ii) Defendant became aware of it, and (iii)

      Defendant did not thereafter terminate their employment, in whole or in part, because of

      it.

      ANSWER: This request calls for speculation because Defendant is notoriously

      secretive about the selective application of its policies. Upon information and belief,

      Plaintiff identifies the following: Chris Hogan, Francois l/n/u, and Tony Bradshaw.

      Defendant should have this information.

   5. Identify by name every person for whom the following is true: (i) the person engaged in

      premarital sex while employed by Defendant, (ii) Defendant became aware of it, and (iii)

      Defendant thereafter terminated their employment, in whole or in part, because of it.

      ANSWER: Objection. This request calls for information that seeks privileged

      attorney client communications and invades the work product doctrine. This

      request calls for speculation because Defendant is notoriously secretive about the

      selective application of its policies. Further, this information should be in

      Defendant’s possession.

   6. Describe each of the ways, if any, that Plaintiff was disabled at any point during her

                                                3


Case 3:20-cv-00628       Document 67-8        Filed 11/09/21     Page 3 of 10 PageID #: 1159
      employment with Defendant.

      ANSWER: Plaintiff’s pregnancy is considered by her doctor a “geriatric
      pregnancy” due to her “advanced maternal age” and was considered a high risk
      pregnancy. As such, because of the higher risk associated with her pregnancy, it was
      likely she would need accommodations that would not be required with a typical
      pregnancy. However, she was terminated before any sort of discussion was held to
      determine how her pregnancy would affect her employment. Thus, even if she was
      not disabled, she certainly was regarded as disabled.

   7. Identify by name every employee of Defendant who knew that Plaintiff was disabled or

      regarded her as disabled at any point during her employment with Defendant.

      ANSWER: Objection. This request calls for speculation. The following employees
      were aware of Plaintiff’s disability: Suzanne Sims, Armando Lopez, Jen Seivertson,
      Dave Ramsey. Upon information and belief, other members of the board and HR
      committee. All employees of Lampo Group were notified in a staff meeting.

   8. Identify by name every woman who has been disciplined or terminated under the

      “discriminatory policy” referenced in Paragraph 20 of the Complaint.

      ANSWER: This request calls for speculation because Defendant is notoriously

      secretive about the selective application of its policies. To Plaintiff’s knowledge, the

      following females have been disciplined or terminated under the Defendant’s

      discriminatory policy: Plaintiff and Camden Laws.

   9. Identify by name each of the “similarly situated non-pregnant employees” referenced in

      Paragraph 33 of the Complaint.

      ANSWER: This request calls for speculation because Defendant is notoriously

      secretive about the selective application of its policies. To Plaintiff’s knowledge, the

      following similarly situated male employees are Chris Hogan and Tony Bradshaw.

   10. Identify by name every employee of Defendant to whom Plaintiff “complained” as

      alleged in Paragraph 34 of the Complaint.

      ANSWER: Plaintiff complained to Suzanne Simms, Armando Lopez, Jen
                                              4


Case 3:20-cv-00628      Document 67-8       Filed 11/09/21     Page 4 of 10 PageID #: 1160
      Seivertson.

   11. Explain how Defendant prohibiting employees from engaging in premarital sex

      conflicted with Plaintiff’s sincere religious beliefs at the time that her employment with

      Defendant was terminated.

      ANSWER:
             Plaintiff’s sincerely held Christian belief is that Christianity is not meant to
      be punitive, hateful, vengeful, or judgmental. Accordingly, her Christian belief is
      that God gave a woman the ability to procreate, and that ability to procreate was
      not restricted by a contract, i.e., marriage or employment. Moreover, Plaintiff does
      not believe that her identification as a Christian gives her the right to judge and
      condemn other Christians or humans for how they choose to carry out their one
      dictate from Jesus, that is, to love one another. Her view of Christianity does not
      require her to invade or inquire or know the specifics of what other people do or do
      not do in their bedroom or when they do it, much less pass morality judgement on
      other people. Moreover, Plaintiff sincerely believes that she should be able to seek
      the support of her Christian community during her pregnancy without fear of
      termination from her employment.

   12. Explain the factual basis for Plaintiff’s claim that Defendant terminated her employment

      in retaliation for requesting FMLA and TMLA leave.

      ANSWER: See interrogatory no. 11.

   13. Explain the factual basis for Plaintiff’s claim that Defendant terminated her employment

      based on sex.

      ANSWER: See interrogatory no. 11.

   14. Explain the factual basis for Plaintiff’s claim that Defendant terminated her employment

      based on pregnancy.

      ANSWER: See interrogatory no. 11.

   15. Explain the factual basis for Plaintiff’s claim that Defendant terminated her employment

      based on religion.

      ANSWER: See interrogatory no. 11.

                                               5


Case 3:20-cv-00628         Document 67-8     Filed 11/09/21      Page 5 of 10 PageID #: 1161
   16. Explain the factual basis for Plaintiff’s claim that Defendant terminated her employment

      based on disability.

      ANSWER: See interrogatory no. 11.

   17. Identify every healthcare provider that Plaintiff has seen for pregnancy or mental health-

      related issues since January 1, 2019 by (i) name, (ii) physical address, (iii) mailing

      address, (iv) and telephone number.

      ANSWER: Dr. Jacqueline Stafford, 4155 Carothers Pkwy, Franklin, TN 37067,
      (615) 794-8800

   18. Identify every medical restriction placed on Plaintiff since January 1, 2019 by (i)

      effective dates, (ii) name of the healthcare provider who issued the medical restriction,

      and (iii) a brief description of the medical restriction.

      ANSWER: At the time of Plaintiff’s request for ADA accommodation paperwork
      she had not yet been placed on medical restrictions. However, she was to see her
      physician later the next week and was to provide the accommodation paperwork
      based on her physician’s recommendation. She requested ADA paperwork from
      Armando Lopez as she is considered to have a geriatric pregnancy and likely to be
      in need of reasonable accommodations. After her unlawful termination, Plaintiff
      was required to cut back on medical services related to her pregnancy because
      Defendant cruelly removed her health insurance unless she signed a severance and
      agreed to keep Defendant’s civil rights violations confidential. As a result of her lack
      of private insurance, Plaintiff had to get insurance through the state which was
      more limited, and she simply self-imposed rest during her pregnancy rather than
      incur additional uncovered costs.

   19. Identify every application for work, as an employee, independent contractor, or

      volunteer, that Plaintiff has submitted since January 1, 2020 by (i) date that the

      application was submitted, (ii) name of the employer or other principal to which the

      application was submitted, and (iii) either job title or a brief description of the type of

      work sought.

      ANSWER: Plaintiff did not apply for any work at while employed by Defendant.
      Plaintiff estimates that she sent out 3 to 10 resumes per week since her
                                                 6


Case 3:20-cv-00628       Document 67-8         Filed 11/09/21      Page 6 of 10 PageID #: 1162
       discriminatory termination. However, it is very difficult to find a job when you are
       pregnant. For jobs she has applied to since her unlawful termination, see Plaintiff’s
       production.

   20. Provide the amount that Plaintiff is seeking in this case for each of the following damages

       specifically requested in the Complaint:

          a. Back pay:

          b. Damages for lost benefits:

          c. Front pay:

          d. Compensatory damages for embarrassment, humiliation, stress, anxiety,

              inconvenience, and loss of enjoyment of life:

          e. Punitive damages:

          f. Liquidated damages under the FMLA:

       ANSWER: Plaintiff is owed sums for back wages and lost benefits from the time of
       the discrimination to trial. Plaintiff will seek damages for embarrassment,
       humiliation, stress, anxiety, inconvenience, and loss enjoyment of life. In addition,
       Plaintiff seeks attorneys’ fees and costs, pre-and post-judgment interest, punitive
       damages, actual damages and liquidated damages under the FMLA, and such other
       and further legal or equitable relief to which she may be entitled. Moreover, absent
       reinstatement, Plaintiff will be owed front pay. At this early stage, Plaintiff is unable
       to make economic calculations and any calculation for emotional distress will be
       made by a jury. Discovery is just beginning, and new information may be revealed.
       Plaintiff will supplement this response and disclose any such report in accordance
       with the Federal Rules of Civil Procedure and any applicable Scheduling Order(s).

 Back Pay to trial date, includes loss of pay,        Approximately $95,722.25 in lost salary
 loss of benefits or replacement benefits,            plus the additional cost for benefits
 Front Pay                                            Approximately $54,000 plus the additional
                                                      costs for benefits.
 Liquidated Damages                                   $95,722.25
 Actual Damages                                       Based on actual damages including but not
                                                      limited to medical bills and other losses.
 Emotional Distress/Punitive                          To be determined by a jury
 Attorney’s Fees through trial (Est.)                 250,000.00
 (partner rates are $450.00 per hour,
 associate rates are $325.00 per hour,
 subject to annual adjustment)
                                                  7


Case 3:20-cv-00628        Document 67-8       Filed 11/09/21        Page 7 of 10 PageID #: 1163
 Costs (Est.)                                   15,000.00
 Interest (prevailing rate)                     6%
 TOTAL                                          Approximately $510,444.50 not including
                                                lost/replacement benefit costs, emotional
                                                damages, actual damages, and pre-and
                                                post-judgment interest.

                                         Respectfully submitted,


                                         /s/ Heather Moore Collins
                                         Heather Moore Collins (BPR 26099)
                                         Anne Hunter (BPR 022407)
                                         Ashley Walter (BPR 037651)
                                         7000 Executive Center Drive
                                         Building Two Suite 320
                                         Brentwood, TN 37027
                                         (615) 724-1996
                                         heather@collinshunter.com
                                         anne@collinshunter.com
                                         ashley@collinshunter.com

                                         Counsel for Plaintiff




                                            8


Case 3:20-cv-00628       Document 67-8    Filed 11/09/21      Page 8 of 10 PageID #: 1164
                               CERTIFICATE OF SERVICE

       I certify that, on January 18, 2021, I caused a copy of the foregoing document to be sent

by e-mail to:

Leslie Sanders (TN #18973)
Daniel Crowell (TN #31485)
WEBB SANDERS PLLC
611 Commerce Street
Suite 3102
Nashville, TN 37203
Telephone: (615) 915-3300
Fax: (866) 277-5494
lsanders@webbsanderslaw.com
dcrowell@webbsanderslaw.com

Attorneys for Defendant

                                                    /s/ Heather Moore Collins
                                                    Heather Moore Collins




                                                9


Case 3:20-cv-00628        Document 67-8       Filed 11/09/21     Page 9 of 10 PageID #: 1165
               Verification to Plaintiff’s Response Defendant’s Interrogatories

       I, Caitlin O’Connor, hereby declare under penalty of perjury, pursuant to 28 U.S.C. § 1746,

that my responses to Defendant’s Interrogatories are true to the best of my recollection, knowledge,

information and belief.



                                              ___s/ Caitlin O’Connor 01/18/21_____________
                                                     Caitlin O’Connor




                                                 1

Case 3:20-cv-00628        Document 67-8       Filed 11/09/21      Page 10 of 10 PageID #: 1166
